                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 AT NASHVILLE


JOSHUA GARTON,                             §                                  Motion GRANTED
                                           §                                  ICMC reset for
        Plaintiff,                         §         Case No. 3:21-cv-00338   3/24/2022 at 3:00 p.m.
                                           §
v.                                         §         JURY DEMANDED
                                           §
W. RAY CROUCH, et al.,                     §
                                           §
        Defendants.                        §


     PLAINTIFF’S MOTION TO CONTINUE INITIAL CASE MANAGEMENT
                  CONFERENCE UNTIL MARCH 24, 2022


        Comes now the Plaintiff, through undersigned counsel of record, and respectfully

moves this Court to continue the Court’s Initial Case Management Conference—presently

scheduled for February 28, 2022 at 3:30 p.m. CST—until March 24, 2022. As grounds,

the undersigned represents that he will be out of the country on February 28, 2022. As a

result, the undersigned has conferred with opposing counsel and the Court regarding

potential alternative dates. All Parties’ counsel have since indicated that they are available

for an Initial Case Management Conference on March 24, 2022. Accordingly, the

Plaintiff respectfully moves this Court to continue the Initial Case Management

Conference in this case until March 24, 2022.




                                               -1-

     Case 3:21-cv-00338 Document 65 Filed 02/02/22 Page 1 of 1 PageID #: 1939
